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     United States Court of Appeals
         for the Federal Circuit
                    ______________________

       GESTURE TECHNOLOGY PARTNERS, LLC,
                    Appellant

                              v.

        APPLE INC., LG ELECTRONICS INC., LG
        ELECTRONICS USA, INC., GOOGLE LLC,
                       Appellees
                ______________________

                          2023-1463
                    ______________________

   Appeal from the United States Patent and Trademark Office,
Patent Trial and Appeal Board in Nos. IPR2021-00922, IPR2022-
00090, IPR2022-00360.
                   ______________________

                         JUDGMENT
                    ______________________

THIS CAUSE having been considered, it is

ORDERED AND ADJUDGED:

AFFIRMED

                                             FOR THE COURT




January 27, 2025
     Date
